

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS


						




NO. WR-79,896-01





		

EX PARTE THOMAS CREECH, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. CR6350-A IN THE 424TH DISTRICT COURT


FROM LLANO COUNTY








	Per curiam.

		

O R D E R



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for a writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of murder and
sentenced to seventy-five years' imprisonment.  The Third Court of Appeals dismissed his appeal. 
Creech v. State, No. 13-12-00707-CR (Tex. App.--Austin 2012, no pet.).

	Applicant contends that trial counsel failed to file timely notice of appeal.  Applicant has
alleged facts that, if true, might entitle him to relief.  Strickland v. Washington, 466 U.S. 668 (1984);
Ex parte Patterson, 993 S.W.2d 114, 115 (Tex. Crim. App. 1999).  In these circumstances,
additional facts are needed.  As we held in Ex parte Rodriguez, 334 S.W.2d 294, 294 (Tex. Crim.
App. 1960), the trial court is the appropriate forum for findings of fact.  The trial court may order
trial counsel to respond to Applicant's claim.  The trial court may use any means set out in Tex.
Code Crim. Proc. art. 11.07, § 3(d). 

	Applicant appears to be represented by counsel. If he is not and the trial court elects to hold
a hearing, it shall determine whether Applicant is indigent.   If Applicant is indigent and wishes to
be represented by counsel, the trial court shall appoint an attorney to represent him at the hearing. 
Tex. Code Crim. Proc. art. 26.04. 

	The trial court shall make findings of fact and conclusions of law as to whether Applicant
was denied his right to appeal.  The trial court shall also make any other findings of fact and
conclusions of law that it deems relevant and appropriate to the disposition of Applicant's claim for
habeas corpus relief.

	This application will be held in abeyance until the trial court has resolved the fact issues.  The
issues shall be resolved within 90 days of this order.  A supplemental transcript containing all
affidavits and interrogatories or the transcription of the court reporter's notes from any hearing or
deposition, along with the trial court's supplemental findings of fact and conclusions of law, shall
be forwarded to this Court within 120 days of the date of this order.  Any extensions of time shall
be obtained from this Court.


Filed:	August 21, 2013

Do not publish


